               Case 19-54974-jwc                  Doc 1     Filed 03/29/19 Entered 03/29/19 14:12:28                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                     Chapter       7
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LUXOR, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1500 Marietta Rd NW
                                  Atlanta, GA 30318-3653
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 1500 Marietta Rd NW Atlanta, GA 30318-3653
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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                                                                                         9 number (if known)
          LUXOR, LLC
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                  and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                  U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When                            Case number
                                                District                                   When                            Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                    Relationship
                                                District                                   When                           Case number, if known




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                                                                                     9 number (if known)
         LUXOR, LLC
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                     5001-10,000                                50,001-100,000
                                 50-99
                                 100-199                                         10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




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                                                                                       9 number (if known)
          LUXOR, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       March 29, 2019
                                                    MM / DD / YYYY


                              X   /s/ Michael Thrasher                                                         Michael Thrasher
                                  Signature of authorized representative of debtor                             Printed name

                                  Title   Managing Member




18. Signature of attorney     X   /s/ Milton Jones                                                              Date March 29, 2019
                                  Signature of attorney for debtor                                                   MM / DD / YYYY

                                  Milton Jones
                                  Printed name

                                  Milton Jones, Attorney
                                  Firm name


                                  PO Box 503
                                  Morrow, GA 30260-0503
                                  Number, Street, City, State & ZIP Code


                                  Contact phone                                      Email address        miltondjones@comcast.net

                                  Milton Jones
                                  Bar number and State




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    Fill in this information to identify the case:

Debtor name       LUXOR, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 29, 2019                    X /s/ Michael Thrasher
                                                             Signature of individual signing on behalf of debtor

                                                              Michael Thrasher
                                                              Printed name

                                                              Managing Member
                                                              Position or relationship to debtor
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            Fill in this information to identify the case:

 Debtor name            LUXOR, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $        3,000,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $        3,000,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $        2,801,213.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$              1,425.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          2,802,638.00




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                                                                                                              United States Bankruptcy Court
                                                                                                         Northern District of Georgia, Atlanta Division

                                                                   IN RE:                                                                                  Case No.
                                                                   LUXOR, LLC                                                                              Chapter 7
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: March 29, 2019                   Signature: /s/ Michael Thrasher
                                                                                                                        Michael Thrasher, Managing Member                                      Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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     1st Citizens Bank
     c/o Adams and Reese
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     Atlanta, GA 30326-1139


     Cathy Lyon
     Fulton County Law
     136 Pryor St SW Fl 3
     Atlanta, GA 30303-3499


     City of Atlanta
     c/o Nina Hickson
     55 Trinity Ave SW
     Atlanta, GA 30303-3520


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     Atlanta, GA 30301


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